Case 1:21-cv-00196-JMS-DLP Document 12 Filed 03/04/21 Page 1 of 3 PageID #: 98




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

ANNETTE PADGETT,                                     )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )      Cause No. 1:21-cv-00196-JMS-DLP
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
               Defendant.                            )

            SUBMISSION OF PROPOSED ORDER GRANTING DEFENDANT’S
                      MOTION FOR SUMMARY JUDGMENT

       This matter is before the Court on the Defendant United States of America’s Motion for

Summary Judgment filed pursuant to Fed. R. Civ. P. 56. The Plaintiff has reviewed the motion

and is not planning to file a response. The Parties have conferred and have consented to the entry

of the Proposed Order, which is filed contemporaneously with this submission. Accordingly, the

Parties request that the Court enter the Proposed Order Granting Defendant’s Motion for

Summary Judgment, without prejudice, with Parties to bear their own fees, costs, and expenses.




                                                1
Case 1:21-cv-00196-JMS-DLP Document 12 Filed 03/04/21 Page 2 of 3 PageID #: 99




                                          Respectfully submitted,

                                          JOHN E. CHILDRESS
                                          Acting United States Attorney

                                    By:   s/ Shelese Woods
                                          Shelese Woods
                                          Assistant United States Attorney

United States Attorney=s Office
10 W. Market, Suite 2100
Indianapolis, Indiana 46204-3048
Telephone: 317-226-6333
Facsimile: 317-226-5027




                                      2
Case 1:21-cv-00196-JMS-DLP Document 12 Filed 03/04/21 Page 3 of 3 PageID #: 100




                                CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2021, the foregoing was filed electronically through

 ECF/CM, a copy of which will be distributed to the following counsel of record:

 Holly S.C. Wojcik
 Barry D. Rooth
 William A. Theodoros
 Theodoros & Rooth, P.C.
 8750 Broadway, Suite A
 Merrillville, IN 46410

 Michael G. Getty
 Philip Kalamaros
 HUNT SUEDHOFF KALAMAROS LLP
 P O Box 11489
 803 S. Calhoun St. 9th Fl.
 Ft. Wayne, IN 46858-1489


                                                     s/ Shelese Woods
                                                     Shelese Woods
                                                     Assistant United States Attorney

 Office of the United States Attorney
 10 West Market Street, Suite 2100
 Indianapolis, IN 46204
 (317) 226-6333




                                                3
